                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

Kathryn Knowlton et al.,
                                               Plaintiffs,           Case No. 20-CV-1660
                     v.
                                                                     MINUTE SHEET
City of Wauwatosa et al.,
                                               Defendants.



Hon. Nancy Joseph, presiding.                        Deputy Clerk: Ross Miller
Type of Proceeding: STATUS CONFERENCE
Date: August 23, 2021 at 9:00am                      Court Reporter: Zoom Audio
Time Commenced: 9:03am                               Time Concluded: 10:02am

Appearances:           Plaintiff:       Kimberly Motley, Kathryn Knowlton
                       Defendant:       Jasmyne Baynard

Comments:

DEFENDANTS

-   Have given Plaintiffs all emails requested.
-   Currently working on reviewing and redacting email attachment before sending them to Plaintiffs.
-   Documents are being redacted because of driver protection act.
-   Does not know when attachments will be ready for dissemination.
-   Has issues with Plaintiff’s amount of deposition requests under rule 30.
-   Planning on filing a reply brief on motion for protective order.
-   Agrees with Plaintiffs on providing redacted and non-redacted documents.

PLAINTIFFS

-   Discovery has been a challenge.
-   Keep finding out about emails and attachments during depositions that they do not have.
-   Missing all the iterations of the protester list.
-   Very frustrated with people not showing up for depositions.
-   Defendants may need to be spoken to in court.
-   Disagrees with Defendants on driver protection act – we are redacting and they are not.
-   Wants unredacted emails and cell phone communications.
-   Agrees with Defendants on them providing redacted and non-redacted documents.

COURT

-   Not seeing a lot of progress despite court interventions.
-   Defendant to file a letter with court Wednesday regarding status of outstanding responsive
    documents and provide a date certain when they will be made available.
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-   Court adopts agreement of parties and orders all discovery to be given in its unredacted form AND
    Defendants’ redacted version. This includes already sent redacted emails and documents.
-   Parties to confer regarding possible agreement on number of depositions to be taken. If no
    agreement is reached parties are to inform court of their respective positions and court will issue a
    decision.
-   Informs parties that when a deposition is properly noticed people do not have the option of not
    showing up. If there is an objection you may file a motion and court will issue a decision.
-   Court will schedule another conference or issue an order after motion for sanctions fully briefed.




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